  UNTTED STATES
            CaseDISTRICT COURT/EASTERN D|STRICT
                  1:18-cv-01702-RJD-ST  DocumentOF8NEW
                                                     Filed                                   YORK   Attorney: BROMBERG LAW OFFICE,
                                                                                               04/25/18   Page 1 of 1 PageID #: 33
                                                                                                                                                        P.C. -
                                                                                                                1146

                                                                                                                lndex #:       1 :1   B-CV-O1 702-RJD-ST
  WANDA TIMMS
                                                                                       Plaintiff(s)

                        -aqainst-                                                                               Date Filed

   CITIBANK, N.A.                                                                                               AFFIDAVIT OF SERVICE
                                                                                       Defendant(s)




  STATE OF NEW YORK: COUNTY OF NEW YORK ss:

  SIEH CLARK BEING DULY SWORN DEPOSES AND SAYS DEPONENT IS NOT A
  PARTY TO THIS ACTION, OVER THE AGE OF EIGHTEEN YEARS AND RESIDES IN
  THE STATE OF NEW YORK.
  That on April 18,2018 at 04:25 PM at

  111 WALL STREET
  NEW YORK, NYlOOO5

  deponent served the within true copy of the SUMMONS lN A CIVIL ACTION AND
  COMPLAINT AND JURY DEMAND, CIVIL COVER SHEET on CITIBANK, N.4., the
  defendanVrespondent therein named,

  CORpORATION by delivering thereat a true copy of each to ANGELA LICORISH personally, deponent knew said corporation so
              served to bè the corporation described in said SUMMONS lN A CIVIL ACTION AND COMPLAINT AND JURY
              DEMAND, CtvtL COVER SHEET as said defendanUrespondent and knew said individual to be AUTHORIZED to
                     accept thereof.

        ,            Deponent further states that he describes the person actually served as follows:

                      Sex                       Skin Color               Hair Color             Age (Approx.)   Height   (Approx.)           Weight (APProx)

                     FEMALE                       BLACK                    BROWN                      65                 5'3                      160

                     GLASSES


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                                                                                               -

Citibank                                                 cítì
Angela O. Licorish          Citibank, N.A.
Personal Banker               Wall Street
                            111
Nlt/LS lD: 723010           New York, NY 10005
                            ï   212248 6725
                            F   6462911545
                            'r 800 627 3999
                            a   nge la.o.lìcoris h@cit i.com
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  Sworn to me on: April 18,2018


  Linda Forman                                                                        Gotham Process lnc.
  Notary Public, State of New York                Notary Public, State of New York    299 Broadway                                      SIEH CLARK
  No. 01 FO5031 305                               No.01FO6125415                      New York NY 10007
                                                                                                                               License #:2066971
  Qualified in New York CountY                    Qualified in New York Counly
  Commission Expires August 1, 2018               Commission Expires April 18,
                                                  202'l
                                                                                                                           Docket       #:*1069737*
